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13
                                  UNITED STATES DISTRICT COURT
14
                              THE EASTERN DISTRICT OF CALIFORNIA
15
                                           FRESNO DIVISION
16

17   GERALD CARLIN, JOHN RAHM, PAUL                   )   Case No. 1:09-CV-00430-AWI (EPG)
     ROZWADOWSKI and DIANA WOLFE,                     )
18   individually and on behalf of themselves and all )
     others similarly situated,                       )   ORDER GRANTING DAIRYAMERICA,
19                                                    )   INC.’S REQUEST TO SEAL THE
                    Plaintiffs,                       )   SUPPLEMENTAL MEMORANDUM TO
20                                                    )   EXHIBIT H TO THE JOINT
21           v.                                       )   STATEMENT REGARDING PARTIES’
                                                      )   DISCOVERY DISPUTES AND FILE
22   DAIRYAMERICA, INC., et al.,                      )   REDACTED VERSION
                                                      )
23                  Defendants.                       )
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                             1                                               ORDER
                             2          This matter comes before the Court on Defendant DairyAmerica, Inc.’s (“DairyAmerica”)
                             3   Request to Seal the Supplemental Memorandum to Exhibit H to the Joint Statement Regarding
                             4   Parties’ Discovery Disputes and File Redacted Version (the “Request”) pursuant to Local Rules
                             5   140 and 141. Having considered the Request, papers submitted in support and opposition, and
                             6   good cause appearing, the Request is GRANTED.
                             7          IT IS HEREBY ORDERED,
                             8          Pursuant to Local Rule 141(e)(2)(i), DairyAmerica, Inc. may submit unredacted versions
                             9   of the following documents to ApprovedSealed@caed.uscourts.gov:
                            10          1.     Supplemental Memorandum in Opposition to Plaintiffs’ Motion for Sanctions;
DAVIS WRIGHT TREMAINE LLP




                            11          2.     Supplemental Declaration of Charles M. English in Support of DairyAmerica’s
                            12   Supplemental Memorandum in Opposition to Plaintiffs’ Motions for Sanctions, including Exhibits
                            13   2-4, 6-12;
                            14          Upon entry of this Order and after the Clerk of the Court has filed the unredacted
                            15   documents under seal, Defendant DairyAmerica will file a redacted version of the above
                            16   documents directly via CM/ECF. DairyAmerica has already served counsel for Plaintiffs with a
                            17   copy of the unredacted documents. Only the Court and its staff shall have access to the unredacted
                            18   documents.
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                                 IT IS SO ORDERED.
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                            21      Dated:    August 3, 2017                              /s/
                                                                                     UNITED STATES MAGISTRATE JUDGE
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